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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                      24 MC 01108 (AMD)

BRYAN A. MCKENNA,
an attorney admitted to practice before this Court,

                                Respondent.

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BEFORE THE GRIEVANCE COMMITTEE OF THE UNITED STATES DISTRICT
COURT FOR THE EASTERN DISTRICT OF NEW YORK

              An order having been entered in the Supreme Court of the State of New York,
Appellate Division, disbarring the respondent from the practice of law before that Court,

               IT IS ORDERED, pursuant to Local Rule 1.5 that the respondent, be and is hereby
disbarred from the practice of law before this Court and that the respondent’s name be stricken
from the Roll of Attorneys of this Court. This order will become effective 24 days after the date
of service upon said attorney unless otherwise modified or stayed.

               The docketing clerk is directed to mail a copy of this order to the respondent if
service is unavailable via ECF, and to close this action without prejudice.


                 SO ORDERED.

Dated :          Brooklyn, New York
                 March 28, 2024


                                                      s/Ann M. Donnelly
                                                  ANN M. DONNELLY, U.S.D.J.
                                                  Chair of the Committee on
                                                  Grievances, E.D.N.Y.
